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 7                          UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
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11     Agency Y LLC,                  )                SACV 20-1716-JVS(KESx)
                                      )
12                                    )                ORDER OF DISMISSAL UPON
                  Plaintiff,          )
13                                    )                SETTLEMENT OF CASE
            v.                        )
14                                    )
       DFO Global Performance         )
15     Commerce Limited,              )
                                      )
16                Defendant(s).       )
                                      )
17     ______________________________ )
18
19           The Court having been advised by the counsel for the parties that the above-
20     entitled action has been settled,
21           IT IS ORDERED that this action be and is hereby dismissed in its entirety
22     without prejudice to the right, upon good cause being shown within 45 days, to reopen
23     the action if settlement is not consummated.
24
25     DATED: December 01, 2021
26                                                         __________________________
                                                                 James V. Selna
27                                                         U.S. District Judge
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